
48 N.Y.2d 966 (1979)
In the Matter of Dieudonne Roche, Appellant,
v.
Philip L. Toia, as Commissioner of the New York State Department of Social Services, et al., Respondents.
Court of Appeals of the State of New York.
Argued November 21, 1979.
Decided December 19, 1979.
Ralph Murphy and Michael D. Kaufman for appellant.
Robert Abrams, Attorney-General (Shirley Adelson Siegel, Herbert J. Wallenstein and William J. Lee of counsel), for Philip L. Toia, respondent.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER.
Judgment affirmed, without costs. The commissioner's determination was supported by substantial evidence in the record.
